  Oct. 28, 2009 Dep. of
W. Bingle at 57:12 – 61:21
     (Rec. Doc. 995)
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 1  that you were telling the government that                 1   record, before you look at this document.
 2  you were only going to employ these                       2   When you sign Exhibit 515 on June 2nd,
 3  aliens until July 31st, 2007, and you                     3   2006, your understanding was it was
 4  testified here that it was Signal's                       4   Signal's intent to employ the H-2B
 5  intent to apply for extensions and green                  5   workers for longer than July 31st, 2007;
 6  cards and give them permanent employment.                 6   correct?
 7     A. Under the advice of our                             7      A. That's correct.
 8  immigration attorney at the time, Malvern                 8      MR. HOWARD: The next document
 9  Burnett, this is the process used to file                 9   Exhibit 516, is a two-page letter over
10 for the H-2B process. You can only file                   10   your signature dated July 26th, 2006.
11 for an H-2B Visa for 10 months, and that                  11   The Bates range here is Burnett-CY-00358
12 was the 10-month period on this                           12   through 359. I ask you to review this
13 application for filing the extensions.                    13   document, please.
14 He told us that would be taken care of at                 14        (Plaintiff's Exhibit 516 was
15 a later date.                                             15   marked for identification by the court
16     Q. Did you ask Mr. Burnett though,                    16   reporter and said exhibit is attached
17 I am a little uncomfortable signing                       17   hereto.)
18 something under oath that tells me we are                 18      Q. BY MR. HOWARD: Have you had an
19 only going to employ the aliens for 10                    19   opportunity to review that?
20 months when we have the intent to keep                    20      A. Yes.
21 them longer?                                              21      Q. And this is a letter that you
22     MS. HANGARTNER: Object to form.                       22   sent July 26, 2006, to the United States
23     A. He said that is the way the                        23   Department of Homeland Security in St.
24 process works.                                            24   Albans, Vermont?
25 BY MR. HOWARD:                                            25      A. Yes.

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 1      Q. I am asking you though, did you                    1      Q. And that is your signature?
 2   express some discomfort to Mr. Burnett                   2      A. Yes.
 3   before signing this document?                            3      Q. And how was this sent? Was this
 4      A. Yes.                                               4   sent by U.S. Mail or by fax over the
 5      Q. And he told you that was the way                   5   wire?
 6   the process worked?                                      6      A. I don't recall how it was sent.
 7      A. Yes.                                               7      Q. It was sent to the US Department
 8      Q. And so you just followed his                       8   of Homeland Security?
 9   advice?                                                  9      A. I believe this was sent. We         Bingle
10      A. Yes.                                              10   signed the letter and gave them to        57:12 - 61:21
11      Q. Did you discuss that document                     11   Malvern Burnett and he sent them off.
12   with anybody else at Signal before                      12      Q. Did Malvern Burnett prepare the
13   signing it?                                             13   letter?
14      A. I probably would have discussed                   14      A. Yes.
15   it with Lisa Spears.                                    15      Q. Did you read it before you
16      Q. Who is she?                                       16   signed it?
17      A. She is our contracts                              17      A. Yes.
18   administrator or contracts manager.                     18      Q. The last two sentences, "these
19      Q. Does she have a legal                             19   peak load temporary workers will not
20   background?                                             20   become part of the permanent work force.
21      A. I don't know.                                     21   They will work for the length of the
22      Q. Did you express to her your                       22   prescribed dates of need, will be paid in
23   concern about signing that document?                    23   accordance with the prevailing wage, and
24      A. I don't recall if I did.                          24   will return to their home country at the
25      Q. Mark this please. Just for the                    25   end of employment." Those are the

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 1  references to the Indian workers being                   1     Q. They were inconsistent with
 2  recruited; correct?                                      2  Signal's intent?
 3     A. That is correct.                                   3     A. Yes.
 4     Q. Were those accurate statements?                    4     Q. So they were inaccurate
 5     A. They were --                                       5  statements to tell the government this in
 6     MS. HANGARTNER: Object to form.                       6  July 2006?
 7     A. They were statements that were                     7     MS. HANGARTNER: Object to form.
 8  again directed by Malvern Burnett as part                8     MR. ALEXIS, III: Object to form.
 9  of the process to get the guys over here                 9     A. Yes.
10 under an H-2B Visa.                                      10 BY MR. HOWARD:
11 BY MR. HOWARD:                                           11     Q. Did you have any problem signing
12     Q. I understand that. Were they                      12 a letter with inaccurate statements even
13 accurate and truthful statements?                        13 though your attorney was telling you to
14     MR. ALEXIS, III: Object to form.                     14 do it?
15     A. At the time of signing this                       15     MR. ALEXIS, III: Object to form.
16 letter with the H-2B process yes that was                16     A. Yes, we had problems -- I mean,
17 a correct statement.                                     17 I had a problem with it, but it's what
18 BY MR. HOWARD:                                           18 the immigration attorney who was versed
19     Q. When you signed this letter in                    19 in the H-2B process told us this is how
20 July, 2006, did you intend for the Indian                20 the process works.
21 recruits that you were bringing over to                  21 BY MR. HOWARD:
22 this country to work on a temporary basis                22     Q. When you say "told us" did he
23 and go back to Indian at the end of their                23 tell someone else besides yourself?
24 employment or were you intending to bring                24     A. I don't recall who all he told.
25 them permanently and file for green cards                25     Q. Did you go to Mr. Schnoor and

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 1  for them?                                                1  say, look, I have a problem. Our
 2      A. We were intending to file for                     2  immigration lawyer is asking me to lie to
 3  green cards for them.                                    3  the US Government?
 4      Q. So if you intending to file for                   4     MS. HANGARTNER: Object to form.
 5  green cards and had that intent in your                  5     MR. ALEXIS, III: Object to form.
 6  mind when you signed this letter, how is                 6     A. We discussed it and were told by
 7  it that you can say that it was an                       7  who we thought was a reputable
 8  accurate statement to tell the US                        8  immigration attorney at the time that
 9  Government that they will work only                      9  that's the way the process worked.
10 temporarily and go back to India when the                10 That's just the US Government.
11 work is done?                                            11 BY MR. HOWARD:
12      MS. HANGARTNER: Object to form.                     12    Q. So you just said Mr. Burnett
13 Asked and answered.                                      13 says, you know, it is okay to lie to the
14      MR. ALEXIS, III: Object to form.                    14 US Government, that's the way it works,
15      A. That is what we were told by                     15 and you accepted it?
16 Malvern Burnett the way the process                      16    MS. HANGARTNER: Object to form.
17 works.                       Bingle 59:19--60:20         17    MR. ALEXIS, III: Object to form.
18 BY MR. HOWARD:                                           18    A. Yes.
19      Q. I understand you are saying that                 19 BY MR. HOWARD:
20 Malvern Burnett told you to say this. I                  20    Q. And you signed this letter?
21 understand that he drafted the letter.                   21    A. Yes.
22 I'm asking you if those two sentences, as                22    Q. Did you ask him to change
23 drafted by Malvern Burnett, were                         23 anything in the letter?
24 consistent with Signal's intent or not?                  24    A. I don't recall if we asked him
25      A. No.                                              25 to change anything or not.

                                                                                                    16 (Pages 58 to 61)
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